                      UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF WISCONSIN
______________________________________________________________________________

STATE OF WISCONSIN LOCAL                  )
GOVERNMENT PROPERTY                       )
INSURANCE FUND,                           )
                                          )
            Plaintiff,                    )
v.                                        )     No.   2:15-cv-00142-JPS
                                          )
LEXINGTON INSURANCE COMPANY,              )
ET Al.                                    )
                                          )
            Defendants.                   )
______________________________________________________________________________

                       JOINT FINAL PRETRIAL REPORT
______________________________________________________________________________

       NOW COME Plaintiff State of Wisconsin Local Government Property Insurance Fund

(“the Fund”), Defendant Lexington Insurance Company (“Lexington”), and The Cincinnati

Insurance Company (“Cincinnati”), by the respective attorneys of record, and pursuant to this

Court’s February 3, 2017 Trial Scheduling Order (Docket #51) (as modified by the August 8,

2017 Order (Docket #140) and Wis. E.D. Civil Local Rule 16(c)(1) hereby submit the following

Joint Final Pretrial Report.




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Attachment F (Disputed Verdict Form)



I.        SHORT SUMMARY.

          A.      Facts.

      This lawsuit arises from a July 6, 2013 loss at the Milwaukee County Courthouse. At the time

Milwaukee County was insured under a policy of insurance issued by the State of Wisconsin Local

Government Property Insurance Fund (“The Fund”). In addition, a machinery and equipment policy of

insurance was issued to Milwaukee County by The Cincinnati Insurance Company (“Cincinnati”).

Cincinnati Insurance Company provided Milwaukee County with its coverage position on October 31,

2014. The Fund was insured under a policy issued by Lexington Insurance Company (“Lexington”). The

County made a claim for the loss. The Fund investigated and concluded that the loss was covered. The

Fund then made a claim on the Lexington policy. The Fund paid the County $19,114,955. The Fund

also incurred $1,785,215 in Loss Adjusting expense. Lexington investigated this claim and then on

November 24, 2014, Lexington provided the Fund with a letter stating its coverage position.

      While approving the County’s claim, the Fund made a claim on the Lexington policy. In

August 2013, Lexington notified the Fund that its initial investigation revealed damage due to

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electrical arcing, which according to Lexington was barred under the Fund policy’s electrical or

mechanical breakdown exclusion. Thereafter, Lexington continued it investigation. In January

2014, Lexington paid the Fund $5 million “associated to the loss and damage” but “without

specific designation as to a warranty of indemnification under the policy.” (Docket #76-17 at 2.).

Subsequently, Lexington provided the Fund with a letter stating its coverage position and a copy

of Lexington’s consultants’ investigative report which detailed why Lexington believed the loss

was caused by electrical arcing.

       B.      Claims and Defenses.

   In December 2014, the Fund commenced suit, naming Lexington, Cincinnati, and the County

(since dismissed) as party defendants. The Complaint states three counts: declaratory judgment

(as to all parties); breach of contract, against Lexington; and bad faith, against Lexington. The

case was removed to the Wisconsin Eastern District court.

   The parties have disputed the cause of the loss and whether the policies afford coverage. The

Fund deemed the loss to be from fire and resulting smoke from a failed capacitor in the

Courthouse electrical equipment. The Fund concluded that the capacitor failed due to wear and

tear which resulted in the igniting of oil inside the capacitor, and subsequent heat and smoke.

The Fund concluded that the loss was covered because there was sudden and accidental direct

physical loss to the County’s covered property, resulting at least arguably from a covered peril.

   Lexington concluded that the capacitor failure resulted in an explosion causing mechanical

damage that caused electrical arcing. Lexington contends a small discrete fire started after the

arcing event and was confined to one equipment cabinet. Lexington also contends that coverage

is excluded under its policy’s Equipment Breakdown exclusion, and the Fund’s electrical or

mechanical breakdown exclusion (incorporated into Lexington’s policy).


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      Cincinnati concluded that the capacitor failed, resulting in an explosion, fire and resulting

smoke damage. Cincinnati contends that the damages are barred under its policy exclusions for

explosion; an “accident” that is the result of explosion, fire or smoke; and fire or explosion that

occurs at the same time as an “accident” or that ensues from an “accident.”



II.       STATEMENT OF THE ISSUES.

      The Fund contends the case is poised to go to trial for purposes of a finding on the Fund’s

bad faith claim against Lexington. Conversely, Lexington contends that there remains a dispute

as to the amount of the loss, and the amount owed by Lexington to the Fund as a result of the

liability under Counts One and Two. Cincinnati seeks dismissal on grounds that the Court’s

October 31, 2017 order disposes of Count One, which is the only count directed to Cincinnati.

      Bad Faith issues for trial:

          1.      Whether the Fund’s claim was properly investigated by Lexington, and whether

Lexington gave the results of that investigation a reasonable evaluation and review.?

          2.      Whether Lexington’s interpretation of the insurance policies was unreasonable as

to constitute bad faith?

          3.      What compensatory damages, if any, proximately resulted from Lexington’s bad

faith that would not have been incurred but for Lexington’s conduct.?

          4.      Did Lexington act maliciously toward the Fund or in an intentional disregard of

the Fund’s rights?

          5.      What sum, if any, should be award against Lexington as punitive damages?

          6.      Lexington proposed issue: Whether Lexington determined that the amount of the

covered loss did not exceed $6.8 million.


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       Declaratory Judgment issues for trial:

           1.      Was there direct loss to Milwaukee County’s property as a result of a sudden and

accidental breakdown of any mechanical or electrical machine or apparatus used for generating,

transmitting or using mechanical or electrical power?

          2.       If so, was the loss or damage caused directly or indirectly by: 1) explosion; 2) an

 “accident” that is the result of explosion, fire or smoke; or 3) fire or explosion that occurs at the

 same time as an “accident” or that ensues from an “accident”?

          3.       What is the cost to repair or replace the covered physical loss or damage with

 property of like kind, capacity, size and quality, and used for the same purpose?

          4.       Lexington proposed issue: Whether, based on the order of October 31, 2017

(Docket #156), Lexington can contest the reasonable and necessary costs to repair or replace the

physical loss or damage covered under the Lexington policy.


III.      NAMES AND ADDRESSES OF ALL WITNESSES EXPECTED TO TESTIFY.

          A.       Witnesses for the Fund.

          1.       Brynn Bruijn-Hansen, 125 S. Webster, Madison, WI

          2.       James Camacho, 2012 Norton Avenue, Waukesha, WI

          3.       Battalion Chief Christopher Synder, 3835 N. 79th Street, Milwaukee, WI

          4.       Firefighter Michael Wise, 3363 S. 95th Street, Milwaukee WI

          5.       Judge Jeffrey Kremers, Milwaukee County Circuit Court Judge

          6.       Ossian Cooney, Lexington Insurance Company

          7.       Ed Frank, Lexington Insurance Company

          8.       Michael Newman, 3701 N. Ravenswood, Chicago, IL

          9.       Timothy McGreal, 19417 Beaver Creek Lane, Mokena, IL


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10.      Frank Seter, 1864 S. Elmhurst Rd, Mount Pleasant, IL

11.      Carolyn Kelly, 8380 Hwy 18 & 151, Verona, WI

12.      Steve Claxton, 256 Eisenhower Lane South, Lombard, IL

13.      Christopher Lautenberger, 1921 University Avenue, Berkley, CA

14.      Jim Leatzow, 1265 Pine Isle Road, Three Lakes, WI



B.       Witnesses for Lexington.

1.       Ossian Cooney, Lexington Insurance Company, 99 High Street, Boston,
         Massachusetts

2.       Edward Frank, Lexington Insurance Company, 3602 County Line Road,
         Skaneateles, New York

3.       Scott Richardson, VeriClaim, Inc., 1833 Centre Point Circle, Naperville, Illinois

4.       Michael Newman, Newman & Newman, 3701 N. Ravenswood, Chicago, Illinois

5.       Jim Camacho, 2515 N. 124th St. Brookfield, WI 53005

6.       Scott Tebo, Unified Investigations & Sciences, 2055 W. Army Trail Road,
         Addison, Illinois

7.       Scott Glinski, Milwaukee Fire Department

8.       Dennis Dietscher, 6239 South 106th Street, Hales Corners, Wisconsin

9.       Michael Quick, MP Quick Consulting, 801 Vine Place, West Bend, Wisconsin

10.      Mark Svare, MSD Engineering, 6451 McKinley Street NW, Ramsey, Minnesota

11.      Larry Hanke, MEE, Inc., 13805 1st Avenue North, Plymouth, Minnesota

12.      James Lord, Jensen Hughes, 3610 Commerce Drive, Baltimore, Maryland

13.      Jonathan Held, JS Held LLC, 50 Jericho Quadrangle, Jericho, New York

14.      Dale Frediani, RMG Consulting, LLC, 1280 Route 46, Parsippany, New Jersey




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       C.       Witnesses for Cincinnati.

        1.      Lynn Smith of Cincinnati Insurance

        2.      Duane Cantrell of Cincinnati Insurance

        3.      Karl Aittaniemi of Rimkus Consulting

        4.      Dennis Rasco of Rimkus Consulting

        5.      John Diggle of Rimkus Consulting

       6.       Otto William Soyk of Rimkus Consulting

The parties reserve the right to call any individual listed by any other party and further reserves

the right to amend its witness list based upon further rulings of this Court.



IV.    STATEMENT OF THE BACKGROUND OF EXPERT WITNESSES LISTED.

       A.       Fund’s expert witnesses.

       1.       Carolyn Kelly

       Ms. Kelly is a graduate of the University of Wisconsin in Criminal Justice. From 1983 to

1994, Ms. Kelly was a Special Agent for the Wisconsin Division of Criminal Investigation and

then became the Bureau Director, a position she held until 2009. As Bureau Director, Ms. Kelly

was primarily responsible for supervising the state’s Arson Bureau and serving as the Wisconsin

State Fire Marshal, conducting cause/origin investigations. Beginning in 2009, Ms. Kelly worked

as a fire investigator for Independent Investigations, investigating fires and explosions.

In 2013, Ms. Kelly founded Origin & Cause Resources and she works investigating fires and

explosions. Ms. Kelly is a Certified Fire Investigator with the International Association of Arson

Investigators, and a Fire Investigator with the National Board of Fire Service Professional

Qualifications. She is also a Wisconsin Certified Instructor of Arson Investigation.



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       2.       Christopher Lautenberger, PhD, PE

       Dr. Lautenberger holds a Bachelor’s degree in Mechanical Engineering and a Master’s

degree in Fire Protection Engineering from Worcester Polytechnic Institute and a PhD in

Mechanical Engineering from the University of California at Berkeley. Dr. Lautenberger is a

licensed professional engineer. His responsibilities include building code and fire code

consulting, fire science research, design of fire protection and life safety systems, thermal

sciences, atmospheric processes, and forensic reconstruction of fires. His work combines

fire/building codes and related standards with technical aspects of fire science such as

combustion, heat transfer, fluid dynamics, thermodynamics, fire dynamics and fire modeling. He

has written extensively on topics of soot and smoke spread. Dr. Lautenberger co-teaches

Masters-level courses in Fire Dynamics and Fire Modeling in the department of Fire Protection

Engineering at California Polytechnic State University.



       3.       Steven F. Claxton, PE, CFEI

       Mr. Claxton holds a Bachelor’s degree in electrical engineering. He is a licensed

professional engineer and Certified Fire and Explosion Investigator. He has extensive experience

in electrical and forensic engineering having investigated commercial, industrial, and residential

electrical related fires and accidents. His experience includes reconstruction of electrical

accidents, review and assessment of the applicability of codes, the analysis of equipment

performances and determination of root cause.



       4.       Jim Leatzow



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       Mr. Leatzow has 42 years of property/casualty insurance industry and agency experience.

He has 22 years of national managing/underwriting general agent experience and 17 years of

reinsurance experience. Mr. Leatzow has worked for 20 years in the area of Third Party

Administrator claims handling/adjusting. He is a certified insurance and reinsurance arbitrator.

Mr. Leatzow has been retained over 400 times as an expert in the areas of bad faith and coverage

providing opinions in the areas of general liability, property, professional liability, surety,

casualty lines and errors and omission.




       B.      Lexington’s experts witnesses.

       1.      Dale Frediani

       Mr. Frediani holds a Bachelor’s degree in Economics from Duke University. He has

forty-nine years of experience in the adjustment, supervision, management and analysis of first-

party property insurance claims. Mr. Frediani began adjusting first-party property insurance

claims in 1968 and over the course of his career rose to management positions at Chubb & Son,

Inc., The CNA Insurance Companies and Reliance National Risk Specialists. At CNA Mr.

Frediani had national responsibility for, among other things, commercial first-party property

claims and at Reliance National he promulgated company-wide guidelines for the handling of

commercial property and machinery breakdown claims. Mr. Frediani founded RMG Consulting

in 1999 and since that time has served as an expert, arbitration and umpire in disputes involving

commercial property insurance claims, machinery breakdown and reinsurance. He has been

published on issues impacting the property insurance industry and is a frequent speaker/lecturer

on property insurance issues and topics to various property insurance industry companies, groups

and organizations.


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          2.      James Lord

          Mr. Lord obtained a B.S. in Mechanical Engineering and a M.S. in Fire Protection

Engineering from Worchester Polytechnic Institute. He is Professional Engineer and a Certified

Fire Investigator. Mr. Lord has served as a firefighter as well as a fire protection engineer and

spent ten years investigating fires and performing forensic engineering analysis for the United

States Bureau of Alcohol, Tobacco & Firearms (“ATF”). Mr. Lord performed approximately

700 fire investigations while at the ATF and testified on behalf of the ATF throughout the United

States and Canada. He performed formal training for ATF agents throughout the country and has

instructed foreign fire investigators through the International Law Enforcement Agency in

Hungary and Thailand. Mr. Lord has served as an Adjunct Instructor at Oklahoma State

University since 2014 teaching graduate level courses in fire dynamics and computer fire

modeling and has spoken/lectured throughout the country on fire protection and fire investigation

issues.



          3.      Jonathon C. Held

          Mr. Held obtained a B.A. in political science from George Washington University in

1977. He has been employed by J.S. Held since 1977 and has served as CEO since 1985 where

he provides consulting services dealing with the scope and cost of repair to damages to the

building.      He has consulted on many of the largest and most complex catastrophic insurance

claims in history. Mr. Held has been published on issues relating to claims for damages to

buildings under first-party property insurance claims and is a frequent speaker/lecturer on issues

relating to first-party claims to the American Bar Association and insurance industry groups,



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companies, and organizations. Mr. Held has served as an arbitrator or umpire in hundreds of

property insurance claims.



       4.      Larry Hanke

       Larry Hanke is the Principal Engineer at Materials Evaluation and Engineering, Inc. Mr.

Hanke obtained a B.S. in Metallurgical Engineering from Iowa State University, and has almost

forty years of experience as a metallurgical and materials engineer in material evaluation,

component testing, and failure investigation. He is a licensed professional engineer in multiple

states, including Wisconsin, and has extensive experience in laboratory testing of materials and

components evaluating damage and determining the circumstances and causes of damage. He has

performed thousands of component failure analyses, including many analyses involving material

degradation from thermal exposures and electrical discharge, as well as work on a wide variety

of electrical equipment, including residential and commercial electrical systems, medium-voltage

distribution gear, and high-voltage equipment.



       5.      Mark Svare

       Mark Svare is the managing member and principal engineer at MSD Engineering. Mr.

Svare obtained a Bachelor of Electrical Engineering degree from the University of Minnesota,

with an emphasis is electrical power system distribution, and has continued studies towards a

Ph.D., focusing on the forensic investigation of electrical and fire damage to electrical

conductors and equipment. In addition to being a registered professional engineer in a multitude

of states including Wisconsin and a certified fire and explosion investigator, Mr. Svare is a

licensed Master Electrician, a licensed electrical contractor and licensed electrical engineer in the



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design, installation, and maintenance of electrical equipment used for light, power, and heat

including electrical capacitors used in electronic equipment and electrical distribution equipment.

Mr. Svare is also a qualified and competent person, as defined by the United States Department

and Labor and the National Fire Protection Association, to design, install, maintain, inspect and

performance test electrical distribution equipment, including the medium-voltage equipment

involved in this matter. Mr. Svare has over twenty-five years of experience in power distribution

equipment and has attended and taught dozens of courses and seminars in the field of electrical

engineering.



       6.      Michael Quick

       Michael Quick is the owner of MP Quick Consulting. He obtained a B.S. in criminal

justice from the University of Wisconsin Milwaukee, and is a certified fire and explosives

specialist and investigator, specializing in complex, significant-loss events. Mr. Quick was a

police officer with the West Bend Police Department, and a special agent/criminal investigator

for the United States Secret Service. For 25 years, Mr. Quick was a special agent for the United

States Bureau of Alcohol, Tobacco, Firearms and Explosives where, in addition to investigating

fire and explosion scenes, he was a Team Leader for one of ATF’s four national response teams,

as well as Team Leader for ATF’s international response team, traveling to foreign countries to

support in their fire investigations. Mr. Quick is a law enforcement instructor, has Firefighter I

certification, and has more than 1600 hours as an instructor of advanced fire and explosion

investigations, explosion dynamics and NFPA 21 to domestic and foreign organizations. In his

career, Mr. Quick has conducted and participated in over 1600 fire and/or explosion scene

examinations, over 300 live fire training scenarios, and over 200 live explosion demonstrations



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and destructions.




       C.      Cincinnati’s experts witnesses.

       1.      Karl Aittaniemi.

       Mr. Aittaniemi holds a Bachelor’s degree in mechanical engineering from Southern

Illinois University and an MBA from Worcester Polytechnic Institute. He has a certificate of

graduate study in fire protection engineering from Worcester Polytechnic Institute. He is a

licensed professional engineer in several states. Mr. Aittaniemi has an extensive background in

fire protection product evaluation and has managed fire protection investigation products in

accordance with nationally and internationally recognized model codes and standards. He has

conducted numerous full scale and small scale regulatory fire tests in laboratory environments

for Passive Fire Protection Systems and Discreet Building Material Products to determine

suitability for intended use and to explain cause of failure. Mr. Aittaniemi has experience in

mechanical and fire protection engineering in the nuclear power and utility industry. He has been

involved mechanical system modification projects for existing nuclear power plants and risk

mitigation for beyond design basis scenarios.



       2.      Dennis Rasco.

       Mr. Rasco is a graduate of the University of Texas with a Bachelor of Science degree in

electrical engineering. His experience in industry knowledge covers over 40 years in areas of

maintenance, operation, design, engineering, procurement, project and construction management,

scheduling, cost estimating and budget control, implementing quality and control procedures and

safety. He has been a licensed professional engineer in the State of Texas since 1993 and the


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State of Alaska since 2009. Mr. Rasco has extensive experience in analyzing electrical failures,

plant electrical systems, equipment maintenance, motor failures, transformer failures, electrical

construction and design issues, control systems, electrical shock, work practices, electrical

equipment subjected to water, fire or transportation damage and determining the cause and origin

of electrical incidents. Mr. Rasco’s experience includes plant construction, plant start up, plant

operation, project management, regulatory compliance issues, and the design, installation, repair

and operation of fiber optic networks. Mr. Rasco has received specialized training in fiber optic

splicing techniques.



       3.      John Diggle.

       Mr. Diggle received a Bachelor of Science degree in electrical engineering from

Cedarville University. During his professional career, he has participated in more than 1,000

forensic investigations. He has extensive experience in the inspection of electrical systems and

appliances for the purpose of analyzing and evaluating potential electrical failure scenarios. He

has provided technical assistance as well as expert opinions and testimony on matters involving

residential, commercial and industrial building fires, as well as vehicle fires, lightening damage,

electrocutions, and arc flashes. He is proficient in electrical equipment grounding and consumer

product failure analysis. Mr. Diggle has also provided electrical design services for projects

including the renovation of a 13 story residential building, the installation of a public high school

athletic field complex and the renovation of a retirement home facility. He has taught the

electrical section of the “Fire and Arson Investigation” course for the University of Illinois Fire

Service Institute.




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        4.      Otto William Soyk.

        Mr. Soyk holds a Master of Arts degree and Bachelor of Arts degree from Governor’s

State University in addition to numerous specialized training classes in specific areas. He is an

adjunct professor at Penn Foster College where he developed and teaches a course in fire

investigation and National Fire Protection Association, NFPA 921, with a target participant of

fire fighters and law enforcement. He is a certified fire investigator through the International

Association of Arson Investigators, a certified arson investigator through the Illinois State Fire

Marshal’s Office and a senior claims law associate through the American Education Institute.

Mr. Soyk holds certificates from Moraine Valley Community College in automotive technology.

Mr. Soyk has testified as an expert witness in arbitration hearings as well as state criminal and

civil courts and has been recognized as an expert in fireplace installations in arbitration hearings.

Mr. Soyk has extensive background in fire investigation, criminal investigation, and insurance

fraud investigation. His professional experience includes fire, and explosion investigation,

electric fire ignition experimentation, full scale fire testing of ignition scenarios, as well as

computer fire modeling. Mr. Soyk has conducted numerous live fire training tests for fire

fighters, as well as fire investigators using authentic room furnishings. In addition, he has

prepared and presented numerous training sessions for law enforcement, fire fighters, claims

adjusters and the public. He has conducted over 2,000 fire investigations including large multi-

million dollar commercial losses.


V.      EXHIBIT LIST.1

        A list of exhibits to be offered at trial by the parties, sequentially numbered according to
1
 The list of exhibits to be offered at trial are sequentially numbered according to Gen. L.R. 26: Plaintiff
1–999; Lexington 1000–1999; Cincinnati 2000–2999. The list is prepared using “Exhibit and Witness
List” form (AO-187), with the completed form AO-187 mailed to the Court’s proposed order mailbox
(StadtmuellerPO@wied.uscourts.gov) at the time the Final Pretrial Report is electronically filed.

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General L.R. 26, is attached to this Joint Final Pretrial Report as Attachment A.

The parties reserve the right to use any exhibit listed by any other party and further reserves the

right to amend its exhibit list pending further rulings from this Court.



VI.     DESIGNATION OF DEPOSITIONS AND TRANSCRIPTS.

        A.     Fund.

        B.     Lexington.
          Dennis Alan Dietscher: 6;8-25, 7;1-5, 7;14-25, 8;1-21, 11;14-25, 12;1-15, 13;12-25,
      14;1-24, 15;4-18, 15;24-25, 16;1-15, 17;5-25, 18;1, 20;17-25, 21;1-14, 22;11-25, 23;1-12,
      23;24-25, 24;1-8, 28;18-25, 29;1-25, 30;1-4, 30;17-25, 31;1-4, 33;11-25, 34;1-19, 35;2-10,
      36;13-23, 37;6-25, 38;1-25, 39;1-25, 40;1-3, 42;19-25, 43;1-22, 44;15-25, 45;1-17, 46;1-
      25, 47;1-25, 48;2-25, 49;1-2, 50;1, 50;5-25, 51;1-25, 52;1-4, 52;11-25, 53;1-12, 53;20-25,
      54;8-12, 55;12-18, 59;2-25, 60;1-14, 60;17-22, 61;10-25, 62;12-20, 62;23-25, 63;1, 63;5-
      10, 63;13-20, 70;15-25, 71;1-2, 71;6-19, 72;1-11, 72;21-25, 73;1-19, 74;11-25, 75;22-24,
      76;2-25, 77;1-25, 78;1-25, 79;1-4, 80;9-25, 81;12, 81;15-25, 82;1-4, 83;12-15, 83;22-25,
      84;1-24, 85;9-25, 86;1-13, 88;18-24, 90;2-25, 91;1-19, 91;25, 92;2-10, 92;13-24, 93;10-25,
      94:1-22, 95;3-25, 96;1-11, 97;6-10, 97;18-23, 98;1-6, 98;13-25, 99;1-7, 100;5-25, 101;1-
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      134;15-25, 135;1-2, 135;16-25, 136;1-11, 136;22-25, 137;3-5, 137;18-25, 138;1-25, 139;1-
      9, 139;16-25, 140;1-13, 140;23-25, 141;1-16, 142;3-13, 143;4-18, 144;2-25, 145;1-6

          Jim Camacho: 4;6-15, 6;17-24, 7;2-25, 8;1-9, 12;21-24, 13;15-25, 14;1-4, 16;12-15,
      18;21-24, 19;16-19, 20;19-25, 21;1-5, 27;8-12, 20-25; 28;1-2, 17-19, 29;24-25, 30;1,
      31;21-25, 32;1-2, 40;12-25,18-25, 41;1-13, 42;24-25, 43;1-2,6-11,20-23, 46;11-23, 48;24-
      25, 49;1-25, 52;21-25, 53;1-21, 55;17-25, 56;1-5,15-21, 57;11-19, 60;25, 61;1-25, 62;1-13,
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      97;1-2, 111;16-25, 112;1-8,18-24, 127;1-6, 130;16-25, 131;1-4,10-18, 135;18-25, 136;1-
      13, 139;20-25, 140;1-3

           Scott Glinski (Milwaukee Firefighter): 3;14-21, 4;1-8, 4;13-21, 4;24-25, 5;1, 7;7-13,
      8;18-25, 9;1-3, 10;1-14, 11;5-14, 19;6-25, 20;1-19, 21;4-8, 22;2-23, 23;3-11, 23;16-25,
      24;1-25, 25;1-6, 27;12-25, 29;1-3, 29;7-25, 30;1-25, 31;1-25, 32;1-25, 33;1-5, 33;13-25,
      35;17-19, 39;17-20, 43;20-25, 44;1-12, 44;21-25, 45;16-25, 46;1-4, 52;6-13, 53;6-25, 54;1,
      54;5-25, 55;1-13, 55;18-22, 56;21-25, 57;1-9, 61;23-25, 62;1-9

           Christopher Snyder: 3;9-10,14-17,21-22, 5;14-16, 17;4-7, 28;19-23, 29;1-25, 30;1-13,
      35;3-25, 36;1-24, 46;23-25, 47;1-10, 48;13-25, 49;1-5, 57, 15-25, 58;1-2,7-15, 59;16-25,


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       25, 85;1-2,7-14, 88;14-25, 89;1-10, 93;19-25, 94;1-8, 95;7-25, 96;1-16, 97;7-10,14-17,
       99;5-25, 100;1-11, 18-24, 101;3-5,9, 104;19-25, 105;1-2,9-25, 112;15-25, 113;1-18,
       126;12-21; 128;22-25, 129;1-25, 130;1-16,21-25, 131;1-16,21-22,24-25, 132;1-3,6

            Scott Tebo: 6;3-15,21-24, 7;20-25, 8;1-8,23-25, 9;11-22, 10;5-18, 11;4-9,20-25, 12;1-
       15,25 13;1-2,17-21, 14;19-25, 15, 1-5, 16;16-25, 17;1-6, 18;11-25, 19;7-25, 20;1,6-25,
       21;1-18, 22;20-25, 23;1-4, 25;1,18-24, 26;12-25, 27;1-13, 28;7-25, 29;1-3,17-25, 30;1-3,20-
       25, 31;1-12, 32;9-25, 33;1-3,8-25, 34;1-9,23-25, 35;1-14,22-25, 36;1-5,13-25, 37;1-14,22-
       25, 38;1-3, 39;11-25, 40;1-25, 41;1-5,17-25, 42;1-13, 44;1-24, 45;6-9,18-25, 46;1,13-15,19-
       25, 47;1-25, 48;1-25, 49;1-12,14,17,24, 50;12-25, 51;1-6,16-25, 52;1-3,14-25, 53;1-6,13-
       19,24-25, 54;1-9,15-20,25, 55;1-19, 56;2-8,13-25 57;1,6-11,18-23, 58;5-14,17-25, 59;1-
       22,25, 60;3-6,12-21,23-25, 61;1-18, 22-25, 62;1-8, 20-25, 63;1-8, 18-25, 64;1-25, 65;1-3, 7-
       23,25, 66;2-7,10-15,18-25, 67;1-16,25, 68;1-13, 69;5-18, 21-25, 70;1-15, 24-25, 71;1-8,12-
       18,20-25, 72;1-7,14-20, 73;21-25, 74;1-10,19-25, 75;1-25, 76;1-13, 77; 1-25, 78;1-18,
       79;21-25, 80;1-25, 81;1-18, 21-25, 82;1-18, 83;14-25, 84;1-25, 85;1-25, 86;1-25, 87;1-11,
       21-25, 88;1-25, 89;1-15, 17-23, 90;2-14, 17-20, 91;20-25, 92;1-13, 93;14-25, 94;1-15, 95;7-
       25, 96;1-12, 15-25, 97;1-25, 98;1-25, 99;1-22, 100;1-25, 101;1-19, 23-25, 102;1-22, 104;9-
       25, 105;1-8, 108;9-23, 109;11-25, 110;1-9,12-13, 111;3-25, 112;1-25, 113;1-20, 24-25,
       114;1-9, 115;23-25, 116;1-25, 117;1-7, 118;5-25, 119;1,122;10-25, 123;1-19, 124;10-
       25,125;1-25, 126;1-25, 127;14-25, 128;1-19, 24-25, 129;1-9,15-25, 130;1-25, 131;1-17

           James Weber: 6;7-9,12-24, 11;24-25, 12;1-5, 20;1-25, 21;1-13, 114;24-25, 115;1-14,
       116;8-25,117;1-7, 118;4-25, 119;1-25, 123;17-19, 23,25, 124;1-5,9-18, 125;1-4, 8-16,
       139;24-25, 140;1-12, 19-25, 141;1-18.

The parties the right to amend its deposition designations based upon designations made by any

other party and in light of further rulings from this Court.


         C.     Cincinnati.


VII.     TIME NEEDED TO TRY THE CASE.

         The parties anticipate that 12 days will be needed to try the case.


VIII. PROPOSED VOIR DIRE QUESTIONS.

         The proposed questions that the parties would like the Court to ask on voir dire

are attached to this Joint Final Pretrial Report as Attachment B.




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IX.    BRIEF SUMMARY OF THE ELEMENTS UNDERLYING EACH CLAIM AND
       DEFENSE TO BE ADJUDICATED.

       A.      Claims to be adjudicated.

       Fund Count One: Declaratory judgment that Lexington and Cincinnati must reimburse
the Fund, pursuant to their respective insurance policies, for the amounts paid to the County.

        Based on the Court’s October 31,2017 Order, Lexington is liable to the Fund under

County One. The Fund takes the position that under Count One, Lexington is liable to the Fund

for the amounts paid to the County. (Docket # 156 at 1-2, 13,14-15, and 18.)

        As respects Cincinnati, Count One seeks a declaration as to the amounts owed for the

loss under Cincinnati’s policy. (Docket #1-2 ¶¶ 72-74.) The Federal Rules of Civil Procedure

“govern the procedure for obtaining a declaratory judgment under 28 U.S.C. § 2201 (the federal

“Declaratory Judgment Act”). Fed. R. Civ. P. 57. Resolving rights and duties under an insurance

contract is a proper subject for a declaratory judgment. Auto Owners Ins. Co. v. Pers. Touch Med

Spa, LLC, 763 F. Supp. 2d 769, 775 (D.S.C. 2011). A count for declaratory judgment may

require a jury finding on facts material to the rights and duties of parties to an insurance contract.

See, e.g., Cummings v. New England Ins. Co., 266 F.2d 888, 889 (5th Cir. 1959). Count three

requires a jury finding as to facts material to Cincinnati’s policy (including whether there is

evidence of direct loss to the County’s property caused by or resulting from sudden and

accidental breakdown of any mechanical or electrical machine or apparatus used for the

generation, transmission or utilization of mechanical or electrical power), whether the loss and

damage is excluded under the Cincinnati policy, and if not excluded, the cost of repair or

replacement of the covered damaged property.

        Fund Count Three: Bad faith (against Lexington).

        As stated in this Court’s October 31,2017 Order (Docket #156 at 19-20), to prove a bad

faith claim, a plaintiff must show “(1) ‘the absence of a reasonable basis for denying benefits of

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the policy,’ and (2) ‘the defendant’s knowledge or reckless disregard of the lack of a reasonable

basis for denying the claim.’” Blue v. Hartford Life & Accident Ins. Co., 698 F.3d 587, 595 (7th

Cir. 2012) (quoting Anderson, 271 N.W.2d at 376). The first element of a bad faith claim is

assessed objectively. Advance Cable Co., LLC v. Cincinnati Ins. Co., 788 F.3d 743, 748 (7th Cir.

2015). The Court considers whether “a reasonable insurer under the circumstances [would] have

denied or delayed payment of the claim under the facts and circumstances.” Anderson, 271

N.W.2d at 377. Stated another way, if an insured’s claim is “fairly debatable” either in fact or

law, then there existed a reasonable basis for denying the claim, and an insurer cannot have

denied the claim in bad faith. Id. at 376. In analyzing this issue, the Court also considers

“‘whether the insurer properly investigated the claim and whether the results of the investigation

were subject to a reasonable evaluation and review.’” Advance Cable Co., 788 F.3d at 748

(quoting Brown v. Labor & Indus. Review Comm’n, 671 N.W.2d 279, 287-88 (Wis. 2003)); see

also Wis. Pattern Jury Inst. § 2761, Bad Faith By Insurance Company: Assured’s Claim.

        As applied in this case, the foregoing elements apply to three separate grounds

supporting bad faith: (1) that Lexington failed to conduct a proper investigation and did not

subject its investigation to appropriate review; (2) that Lexington’s interpretation of the

insurance policies is so unreasonable as to constitute bad faith; and (3) that Lexington

intentionally delayed its investigation, thereby avoiding the need to finally determine coverage

and pay. (See Docket #156 at 22, 24, and 26.)

        Request for punitive damages.
        Wisconsin law allows an award of punitive damages where evidence shows the

defendant acted “maliciously” or “in an intentional disregard of the rights of the plaintiff.” Wis.

Stat. § 895.043(3). Intentional disregard is defined as action “with a purpose to disregard the



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plaintiffs rights,” or acting while “aware that his or her acts are practically certain to result” in

the disregard. Boomsma v. Star Transp., Inc., 202 F.Supp.2d 869, 881 (E.D. Wis. 2002). On a

bad faith claim against an insurer, the factors necessary for an award of punitive damages require

a showing of: (1) evil intent deserving of punishment or of something in the nature of special ill-

will; or (2) wanton disregard of duty; or (3) gross or outrageous conduct. Trinity Evangelical

Lutheran Church & Sch.-Freistadt v. Tower Ins. Co., 661 N.W.2d 789, 797 (Wis. 2003).

        Punitive damages must be proven with clear and convincing evidence. Franz v. Brennan,

431 N.W.2d 711, 713 (Wis. Ct. App. 1988). While judges serve as gatekeepers before sending a

question on punitive damages to the jury, once the issue of punitive damages is properly before

the jury, its decision to award punitive damages is accorded deference. Kimble v. Land Concepts,

Inc., 845 N.W.2d 395, 405 (Wis. 2014).

        B.      Defenses to claims to be adjudicated.

        Cincinnati’s defenses to the claim for declaratory judgment include the following:

Was the loss or damage caused directly or indirectly by: 1) an explosion; or 2) an accident that is

the result of explosion, fire or smoke; or 3) fire or explosion that occurs at the same time as an

accident or that ensues from an accident.

        Lexington’s Defenses to Plaintiff’s claims include the following:

        For its defense to the contract claim, Lexington contends that the reasonable and

necessary cost to repair and/or replace the damage caused by the covered loss is $6.8 million.

Plaintiff has the burden of proving by a preponderance of the evidence what is the reasonable

and necessary cost to repair and/or replace covered loss.

        For its defense to the bad faith claim, Lexington states that it met its duty of good faith

and fair dealing by making a payment under the Lexington insurance contract based on a covered



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loss amount of $6.8 million.

       It is Plaintiff’s burden to prove, by clear and convincing evidence, that Lexington’s

position with regard to coverage was not “fairly debatable” (Anderson v. Continental Ins. Co.,

271 N.W.2d 368, 377 (Wis. 1978); Ullerich v. Sentry Ins., 824 N.W.2d 876, 878(Wis. App.

2012)), and the inquiry is constrained to the “time at which the decision to deny benefits is

made.” Smith v. United of Omaha Life Insurance, 2016 WL 4133535, *3-4 (E.D. Wis. Aug. 3,

2016) (citing Tripalin v. American Family Mut. Ins. Co., 880 N.W.3d 183 (Wis. App. Apr. 7,

2016) and Ullerich, 824 N.W.2d at 884-85). For its defense, Lexington contends that it had a

reasonable basis for its determination of the covered loss amount. Plaintiff has the burden to

prove, by clear and convincing evidence that Lexington had no reasonable basis for its

determination of the covered loss amount and must also prove what compensatory damages

resulted that would not have been incurred except for the bad faith conduct.

       For its defense to the punitive damages claim, Lexington denies that it acted maliciously

or in an intentional disregard of Plaintiff’s rights. Plaintiff has the burden by clear and

convincing evidence to prove any entitlement of punitive damages.


X.     AGREED JOINT PROPOSED JURY INSTRUCTIONS.

        The agreed joint proposed instructions that the parties would like the Court to present to

the jury are attached to this Joint Final Pretrial Report as Attachment C.

        The parties reserves the right to submit revised instructions in light of further rulings of

this Court. Further, by tendering these instructions Lexington is not admitting that there exists

any evidence to support the instruction.

XI.    DISPUTED JURY INSTRUCTIONS.

       The disputed proposed instructions that the parties would like the Court to present to the


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jury are attached to this Joint Final Pretrial Report as Attachment D.

       The parties reserve the right to submit revised instructions in light of further rulings of

this Court. Further, by tendering these instructions Lexington is not admitting that there exists

any evidence to support the instruction.


XII.   AGREED PROPOSED VERDICT FORM.

        The proposed verdict form instructions that the parties would like the Court to present to

the jury are attached to this Joint Final Pretrial Report as Attachment E.



XIII. DISPUTED VERDICT FORM.

        The disputed proposed verdict form instructions that the parties would like the Court to

present to the jury are attached to this Joint Final Pretrial Report as Attachment F.


IX.    PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF LAW.

        Not applicable.




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Respectfully submitted on this 13th day of November, 2017.



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